    Case 17-14104         Doc 100       Filed 08/22/18 Entered 08/22/18 15:27:42       Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MASSACHUSETTS

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        IN RE:                                                CHAPTER 13
        Mary Kathryn O’Brien                                  CASE NO. 17-14104
        aka M. Kathryn O’Brien

                               Debtor.
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     OBJECTION TO CONFIRMATION OF DEBTOR'S AMENDED CHAPTER 13 PLAN

       Now comes Deutsche Bank National Trust Company, as Trustee for WAMU Mortgage Pass-

Through Certificates Series 2005-AR11 Trust (“Deutsche”), a creditor and party in interest in the above

referenced matter, and hereby objects to confirmation of the Debtor’s Amended Plan (the “Amended

Plan”). As grounds for its objection, Deutsche states the following:

   1. Deutsche is the current holder of a note executed and delivered by the Debtor to Washington

       Mutual Bank, FA, in the amount of $825,000.00, and dated March 4, 2005 and first mortgage,

       executed and delivered by the Debtor to Washington Mutual Bank, FA dated March 4, 2005,

       and recorded in the Essex County (Southern District) Registry of Deeds at Book 24042, Page

       Number 117 on real estate located at 103 High Road a/k/a 101 High Road, Newbury, MA

       01951.

   2. On November 2, 2017, the Debtor filed a petition for relief under Chapter 11 of the United

       States Bankruptcy Code.

   3. On January 31, 2018, the case converted to a Chapter 13.

   4. On February 24, 2018, the Debtor filed her Plan, which does not include the prepetition arrears

       owed to Deutsche.

   5. On May 3, 2018, the Debtor filed her first Amended Plan, which does not include prepetition

       arrears owed to Deutsche.

   6. The Amended Plan states the Property shall be marketed and sold within eleven (11) months of
